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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

 

 

for the
Middle District of Florida
United States of America )
Vv. )
Case No.
TODD ENGLES )
) 6:21-mj 1259
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of Nov. 12, 2020 - Jan. 14, 2021 in the county of Orange in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. §§ 2252A(a)(5)(B) and Possession, distribution, and production of child pornography.

(a)(2), and 2251 (a).

This criminal complaint is based on these facts:

 

 

See attached affidavit. :

@ Continued on the attached sheet. |

Complaiblmt’s signature |

Sworn to before me over the telephone and signed by me Rodney J. Hyre, Special Agent
pursuant to Fed.R.Crim. P. 4.1 and 4(d). Printed name and title

CERTIFY THE FOREGOING TO BE A TRUE
D CORRECT COPY OF THE ORIGINAL
CLERK OF COURT
/ UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
Date: 0 ( A Lax / ,
TrshteGros
. (4 e's signatureBy:

City and state: _ Orlando, Florida EMBRY J. KIDD, eu States Magistrate Judge

Printed name and title

 

 

 

 

 
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STATE OF FLORIDA Case No. 6:21-myj- 1259
COUNTY OF ORANGE
AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Rod Hyre, being duly sworn, do hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND
1. Iam a Special Agent with the FBI and have been since January
2002. I have been employed as a Special Agent with the Federal Bureau of
Investigation (FBI) for the past 18 years. I am currently assigned to the
Tampa Division Orlando Resident Agency of the FBI. I have been
investigating crimes against children since 2009. I have received specialized
training in the investigations of sex crimes, child exploitation, child
pornography, and computer crimes. I have been involved in investigations
involving child pornography and online solicitation/enticement of a minor. I
have participated in investigations of persons suspected of violating federal
child pornography laws, including 18 U.S.C. §§ 2251(a) and (e), 2252, and
2252A. Ihave also participated in various training courses for the
investigation and enforcement of federal child pornography laws in which
computers and cellular phones are used as the means for receiving,
transmitting, and storing child pornography. Additionally, I have participated

in the execution of search warrants involving searches and seizures of
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computers, computer equipment, software, and electronically stored
information.

2. I make this affidavit in support of a criminal complaint for the
arrest of TODD ENGLES. As set forth in more detail below, I believe there is
probable cause that: (1) on or about January 14, 2021, ENGLES knowingly
possessed materials, that is an iPhone XS, that contained images of child
pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B); (2) in or about
January 2021, ENGLES knowingly distributed child pornography, in
violation of 18 U.S.C. § 2252A(a)(2); and (3) on or about November 12, 2020,
ENGLES knowingly used, persuaded, induced and enticed a minor to engage
in sexually explicit conduct for the purpose of transmitting a live visual
depiction and producing a visual depiction of such conduct, in violation of 18
U.S.C. § 2251(a).

3. I make this affidavit from personal knowledge based on my
participation in this investigation, information from other criminal
investigators and law enforcement officers, information from agency reports,
and the review of documents provided to me by these witnesses and law

enforcement officers.
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4. Because this affidavit is being submitted for the limited purpose
of obtaining a criminal complaint, I have not set forth each and every fact
learned during the course of this investigation.

STATUTORY AUTHORITY

5. It is a violation of 18 U.S.C. § 2251(a) to use, persuade, induce,
or entice any minor to engage in any sexually explicit conduct for the purpose
of producing any visual depiction of such conduct or for the purpose of
transmitting a live visual depiction of such conduct, knowing or having reason
to know that such visual depiction will be transported or transmitted using any
means or facility of interstate or foreign commerce or in or affecting interstate
or foreign commerce, or if that visual depiction was produced or transmitted
using materials that have been mailed, shipped, or transported in or affecting
interstate or foreign commerce by any means, including by computer, or if
such visual depiction has actually been transported or transmitted using any
means or facility of interstate or foreign commerce.

6. It is a violation of 18 U.S.C. § 2252A(a)(2) to knowingly
distribute any child pornography using any means or facility of interstate or
foreign commerce.

7. It is a violation of 18 U.S.C. § 2252A(a)(5)(B) to knowingly

possess any material that contains an image of child pornography that has
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been mailed, or shipped or transported using any means or facility of interstate
or foreign commerce or in or affecting interstate or foreign commerce by any
means, including by computer, or that was produced using materials that have
been mailed, or shipped or transported in or affecting interstate or foreign
commerce by any means, including by computer.
DEFINITIONS
8. The following definitions apply to this affidavit:

a. “Child Pornography,” as used herein, includes the
definition in 18 U.S.C. § 2256(8), which defines child pornography as any
visual depiction of sexually explicit conduct where (a) the production of the
visual depiction involved the use of a minor engaged in sexually explicit
conduct. See 18 U.S.C. § 2256(2).

b. “Sexually explicit conduct” means actual or simulated (a)
sexual intercourse, including genital-genital, oral-genital, anal-genital, or
oral-anal, whether between persons of the same or opposite sex; (b) bestiality;
(c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition
of the anus, genitals or pubic area of any person. See 18 U.S.C. § 2256(2).

C. Kik Messenger (commonly known as Kik) is a freeware
instant messaging mobile application that can be used to transmit and receive

messages, photos, videos, sketches, mobile webpages, and other content. Kak
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users can communicate privately with other users or in groups. Kik uses a
smartphone’s Internet connectivity to transmit and receive messages, photos,
videos, and other content.

d. Discord is a VoIP, instant messaging and digital
distribution application that can be used to transmit and receive messages,
photos, videos, and other content. Users communicate with voice calls, video
calls, text messaging, media, and files in private chats or as part of
communities called “servers.” Discord uses a smartphone’s Internet
connectivity to transmit and receive messages, calls, photos, videos, and other
content.

DETAILS OF THE INVESTIGATION

9. On or about July 20, 2020, MediaLab/Kik reported to the
National Center for Missing & Exploited Children C(NCMEC) (Cybertip
#74935247) that a Kik user had uploaded/shared images of apparent child
pornography on several dates in July 2020. Kik reported that the user’s email
address was “yourdaddyred@outlook.com,” and the user’s screen/user name was
“freaky_robert.” Kik also reported that the user had used IP address 71.47.71.184,
geo located to Orlando, Florida, to upload some of the images of child
pornography. Detective Jennifer Wing (Wing), who is a detective with the

Orlando Police Department and a member of the Central Florida Internet Crimes

 
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Against Children Task Force, reviewed Cybertip #74935427, and the images of
apparent child pornography. One of the images, which I have reviewed, is
described below:

(i) File name ending: 73ebde609f50.mp4 (upload on 7/09/2020 at
3:27:18 UTC).

This is an 18 second video depicting a seven to nine year old
prepubescent female made to perform oral sex on an adult male.

10. Pursuant to an investigative subpoena, Charter Communications

responded that the subscriber of IP address 71.47.71.184 on 07/09/2020 at

03:27:18 UTC was TODD ENGLES. The current service date began on

 

05/15/2020. The subscriber address was listed as XXXX Millenia Boulevard
#XXX, Orlando, Florida.

11, On or about October 27, 2020, MediaLab/Kik reported to

 

NCMEC (Cybertip #81992677) that a Kik user had shared images of apparent
child pornography on several dates in September 2020. Kik reported that the
user’s email address was “daddyblack@outlook.com,” and the user’s screen/user
name was “robertsmith_00.” Kik also reported that the user had used IP address
71.47.71.184, geo located to Orlando, Florida, to upload some of the images of

child pornography. Detective Wing reviewed Cybertip #81992677, and the
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images of apparent child pornography. Two of the images, which I have
reviewed, are described below:

(i) File name ending 546a3c9e2aac.jpg. (upload on 9/30/2020 at
02:30:31 UTC from IP address 71.47.71.184).

This image depicts a female child who appears to be age 12 to 14
posing naked with her left leg up at an approximately 90-degree angle exposing
her naked vagina.

(ii) File name ending: a2716a32e47f:mp4 (upload on 9/30/2020
at 02:29:42 UTC from IP address 71.47.71.184).

This 10 second video depicts a female child who appears to be age
12 to 14. The child removes her clothes until she is naked with her vagina visible
and appears to dance.

12. Pursuant to an investigative subpoena, Charter Communications
responded that the subscriber of the IP address 71.47.71.184 on 9/30/2020 at
02:29:42 UTC was TODD ENGLES, at the same address listed in paragaph 10
above.

13, On or about January 21, 2021, MediaLab/Kik reported to
NCMEC (Cybertip #84795026) that a Kik user had shared images of apparent
child pornography on several dates in January 2021. Kik reported that the user

used email address Drakedaddy2200@outlook.com, and screen/user name
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“drakedaddy11” to distribute the images. Kik also reported that the user had used.
IP address 72.188.222.73, geo located to Orlando, Florida, to upload some of the
images of child pornography. DetectiveWing reviewed Cybertip #84795026, and
the images of apparent child pornography. One of the images, which I have
reviewed, is described below:

(i) File name ending f3ba7023aaaf.mp4: (upload on 1/11/2021 at
01:48:22 UTC from IP address 72.188.222.73).

This is a one minute and 38 second video of an adult white male
anally penetrating a prepubescent boy who is about five to seven years old.
The child is wearing a grey mickey mouse shirt with a long sleeve white shirt
underneath. The child can be heard crying during the entire incident.

14. Pursuant to an investigative subpoena, Charter Communications
responded that the subscriber of the IP address 72.188.222.73 on 1/11/2021 at
01:48:22 UTC was TODD ENGLES, at the same address listed in paragraph 10
above.

15. On January 13, 2021, the Honorable Judge Michael Murphy
authorized search warrants for ENGLES’s 2014 Black Dodge Ram truck and his
apartment located in Orlando at Millenia Boulevard.

16. On January 14, 2021, law enforcement conducted a traffic stop on

the vehicle. ENGLES was the only occupant of the vehicle. Pursuant to the
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warrant, law enforcement searched the vehicle and located a black Apple
iPhone XS. ENGLES identified the iPhone XS as belonging to him. ENGLES
opened the iPhone XS using his facial biometrics to provide a cell phone
number for his girlfriend.

17. On January 14, 2021, the Honorable Judge Michael Murphy
authorized a search warrant for ENGLES’s Black Apple iPhone XS seized from
his vehicle.

18. A forensic examiner conducted an examination of the iPhone,
which was reviewed by law enforcement. The examiner located the applications
Kik, Discord and TikTok on the iPhone. In addition, in the Notes application
on the iPhone, the examiner located the email addresses
daddyblack@outlook.com and Drakedaddy2200@outlook.com, which are the
email addresses that shared child pornography images on Kik reported in
Cybertips #81992677 and #84795026. The password Daddy2200 was listed

underneath the daddyblack email address in the Notes application on the iPhone.

 

Possession of Child Pornography

19. Law enforcement reviewed the contents of ENGLES’s iPhone
(which was manufactured in China) and located over 600 images and videos
depicting the sexual abuse of infants, toddlers, and prepubescent and pubescent

children. Two of the videos are described below:
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(i) File Name ending 66ef13e480be.mp4:

This is a 52 second video showing an adult male sitting on top of
an infant approximately three to six months old and placing his penis in the
infant’s mouth.

(ii) File Name ending 829099082901.mp4:

This is a 43 second video showing an adult male anally
penetrating a prepubescent female child approximately three to five years old.
The child is lying on her back while the adult male is holding her legs up and
violently penetrating the child’s anus with his erect penis. The child is
hysterically crying during the entire video.

Distribution of Child Pornography

20. Law enforcement also located on ENGLES’s iPhone hundreds of
chat communications between ENGLES and other users on Kik. Many of the
chat communications occurred during group chats devoted to child sexual
exploitation and rape. | During many of these communications, ENGLES
distributed images and videos of child pornography using the screen name
Robert Smith.

21. For example, on or about J anuary 1, 2021, while in a Kik group
chat with a stated focus on rape, ENGLES, using the screen name Robert

Smith, distributed an image depicting a naked prepubescent female child

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approximately ten to twelve years old sitting on the floor with her legs spread
and exposing her genitals. ENGLES made the following comments during
the chat:

ENGLES: Yeah she’s perfect. She was 9 there, she’s 10 now, I
was talking to her for months

ENGLES: Yeah shes sexy

ENGLES: Begging to stop, I love rae

ENGLES: But a good 10 year old actually moaning and
enjoying it is hot as well

ENGLES: I would 100% do that idc [I don’t care]

ENGLES: I’m into hardcore drugged rape and that

22. Onor about January 10, 2021 and January 12, 2021, ENGLES

distributed two videos depicting the sexual abuse of an infant and a
prepubescent boy approximately five to seven years old in a group chat on
Kik. The originator of the group posted the following initial message:

“Rape only ® ©) No age limit just have to be rape. (Real, Fake, Boy,

Girl or whatever) it don’t matter contribute or get kicked. IF U SEND

ANYTHING ELSE OTHER THAN RAPE U WILL BE KICKED AND

BANNED...ENJOY THE FUNG @ @”

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23. Onor about January 10, 2021, ENGLES distributed to the group
a one minute and 38 second video showing an adult male anally penetrating a
child with his penis. The child is about five to seven years old and wearing a
gray mickey mouse shirt with a long sleeve white shirt underneath. The child
can be heard crying during the entire incident. This is the same video that was
reported in Cybertip # 84795026.
24. Onor about January 12, 2021, ENGLES distributed to the group
a one minute and 25 second video showing a male anally penetrating an infant.
The child is crying throughout the incident. After the male ejaculates in the
child, he turns the child around and wipes what appears to be blood from the
child’s anus. ENGLES made the following comments when he distributed the
video:
ENGLES: Here’s the other half of that video where he cums
inside the kids ass
ENGLES: u can almost see blood
ENGLES: Raw for sure
Sexual Exploitation of Children (Production of Child Pornography)
25. Law enforcement also located Kik chat communications between
ENGLES using the screen name Robert Smith and other users, during which

ENGLES admitted to establishing accounts on Discord and TikTok posing as

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a young boy or young girl and using those accounts and fake identities to
entice minors to engage in sexual activity.
26. For example, during a Kik chat on or about January 3, 2021
between ENGLES and a user TW, ENGLES stated the following:
TW: Any tips on finding these beauty’s
ENGLES: You have to start off by making a catfish account ofa
young boy that you have to pretend to be, and get your followers up on that
account first by going around and following a bunch of people or they will
think you’re fake, then just search “freaky” accounts.
27. During a Kik chat from January 1, 2021 through January 5,
2021, between ENGLES, using the screen name Robert Smith, and user B.H.,
ENGLES stated the following:
B.H.: Who is the girl on your profile
ENGLES: A girl I’ve talked to, she’s 10 now
B.H. So pretty
B.H. You get her sending nudes?
ENGLES: Yea I have a few of her
B.H. Awesome

B.H. Where she from?

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ENGLES: (ENGLES transmitted an image of a naked
prepubescent child with her breasts exposed, 1/1/2021 3:46:00 PM (UTC-5))

ENGLES: UK

ENGLES: (ENGLES transmitted an image of a naked
prepubescent child with her legs spread exposing her vagina, 1/1/2021
3:46:20 PM (UTC-5))

ENGLES: (ENGLES transmitted an image of a naked
prepubescent child with her legs spread and fingers on her vagina, 1/1/2021
3:46:50 PM (UTC-5)) |

B.H.: Yummy yummy

B.H.: Can you imagine licking that sweet virgin pussy?

ENGLES: Man, I’d eat her pussy all day.

ENGLES: It doesn’t get any fresher than that

woe

ENGLES: Yea good little sluts. I talk to a lot. around 8-14.

B.H.: Do they know you are a much older man?

ENGLES: TikTok and nah I pretend to be 14-16

ENGLES: This one 13 y/o I told her I’m 27 and she doesn’t

care

B.H.: They don’t ask for your pic

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B.H.: Hot

ENGLES: I’m good at what I do. I have an entire catfish
account of a 15-year-old boy [I] pretend to be

B.H.: 13 is very Hot

ENGLES: My favorite age is 10-11

ENGLES: Budding nips and hairless pussy

ENGLES: Yep

sok

ENGLES: This is what I do all day man, I try and get nudes
from real girls lol

B.H.: Do these girls want dick

ENGLES: Most of them do, that 11 I showed you called me
daddy all the time and wanted dick bad

ENGLES: Dude, I’d literally drug them and fuck them without
them knowing

B.H.: I chatted with a mom from Scotland that wanted to see her
8 year old daughter abused

ENGLES: Fuckkk, that’s my dream

ENGLES: Id literally rape a 2 year old idc

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ENGLES: whys the difference between raping a baby or a 12
year old

B.H. baby is so small and innocent

ENGLES: So is a 12 year old

ENGLES: Rape is rape

28. Onor about November 12, 2020, ENGLES, using the screen

name robertsmith, persuaded and enticed a female child (CV) between the
ages of nine and eleven-years-old to engage in sexual conduct and to transmit
a live visual depiction of the conduct on Discord. ENGLES recorded the
video on his iPhone. ENGLES used the profile picture of a young boy that
appears to be approximately 13 to 15-years-old to communicate with the CV
on Discord. Law enforcement recovered the chat communications and video
from ENGLES’s iPhone. During the video chat communications, the
following occurred:

robertsmith: When we ft (facetime) take ur shirt off and show ur
pussy.

CV: Ok you too then

robertsmith: hold on

CV: When do you want to do it

robertsmith: In a minute

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CV: Ok call me when you are ready
robertsmith: Ok hold on Ok ready Get naked
CV: Yea Ok

KKK

robertsmith: Show ur pussy now bby
KK
robertsmith: Show ur pussy now bby Stick ur tongue out for
daddy
29. Approximately 16 seconds into the video, a female approximately
nine to eleven years-old appears on the screen and exposes her naked vagina.
She is wearing a pink shirt with multi-colored donuts on the front.
Approximately 23 seconds into the video, the child turns around and exposes
her naked buttocks and vagina from the rear. The child exposes her vagina from
different angles to the camera. Later, the child sticks out her tongue. At the
conclusion of the video, the CV tells ENGLES acting as robertsmith, “I gtg right
now talk to you later ... Love you Bye cutie.”
CONCLUSION
30. Based on the above, there is probable cause that (1) on or about
January 14, 2021, ENGLES knowingly possessed materials, that is an iPhone

XS, that contained images of child pornography, in violation of 18 U.S.C. §

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2252A(a)(5)(B); (2) in or about January 2021, ENGLES knowingly distributed
child pornography, in violation of 18 U.S.C. § 2252A(a)(2); and (3) on or
about November 12, 2020, ENGLES knowingly used, persuaded, induced and
enticed a minor to engage in sexually explicit conduct for the purpose of

producing a visual depiction of such conduct, in violation of 18 U.S.C. §

2251(a).
LN /,

Rodney J. Hyre
Special Agent
Federal Bureau of Investigation

Affidavit submitted by email and attested to me
as true and accurate by telephone consistent with
Fed. R. cam P. 4.1 and 4(d) before me

| CERTIFY THE FOREGOING TO BE A TRUE
this D CORRECT COPY OF THE ORIGINAL
CLERK OF COURT
UNITED:STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
EMBRYd. KIDD ‘W——., TrishLeGros
Unite esMagistrateJudge  =t—=—t

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